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                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 Mehrangiz Kar and Azadeh Pourzand,


                                 Plaintiffs,


                       vs.                        Case Number: 1:19-cv-02070-JDB


 The Islamic Republic of Iran et al.;


                                 Defendants.


                                               ORDER

   Pursuant to Federal Rule of Civil Procedure 58 and for the reasons stated in the accompanying
Memorandum Opinion, Plaintiffs’ motion for default judgment is GRANTED. The Plaintiffs have
established to the Court's satisfaction, pursuant to 28 U.S.C. 1608(e), that the defendant, the
Islamic Republic of Iran, is liable for damages to plaintiffs. Plaintiffs are awarded monetary
damages in the following amounts:

   To Plaintiff Mehrangiz Kar:
                  1. Non-Economic Damages:                        $20,000,000
                  2. Economic Damages:                            $1,373,225
                  3. Punitive Damages:                            $150,000,000


   To Plaintiff Azadeh Pourzand:
                  1. Non-Economic Damages:                        $15,000,000
                  2. Economic Damages:                            $216,825
                  3. Punitive Damages:                            $150,000,000
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SO ORDERED.

                                               ________________________
                                               Emmet G. Sullivan
                                               United States District Judge

Date: ___________________
